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 EXHIBIT 17
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THOMAS A. CLARE, P.C.                                                                         MEGAN L. MEIER

                                                 February 4, 2021

   Via Email & Federal Express

    Mike Lindell
    Founder and CEO
    My Pillow, Inc.
    343 E 82nd Str #102
    Chaska, MN 55318
    mlindell@mypillow.com

           Re:     False Claims About Dominion

    Mr. Lindell:
             For months, you have been lying about Dominion in order to financially enrich yourself and
    My Pillow, Inc. by selling more MyPillow products to Trump supporters who tuned in or attended
    rallies because they wanted to hear that the election had been stolen and that Trump would have
    another term in office.1 In support of your defamatory marketing campaign—which we understand
    has boosted your sales considerably—you have repeatedly claimed to have “evidence” and “100%
    proof” of your false claims. But you have never produced any real evidence because it doesn’t exist.
             Recently, you announced your intention to release a “documentary” with the “evidence” of
    your false claims about Dominion. We write to put you on formal written notice of the facts so that
    there is absolutely no doubt at a future date about what was known to you before you published that
    documentary. As set forth in Dominion’s complaint and exhibits against Sidney Powell (which we
    sent you on January 8) and Dominion’s complaint and exhibits against Rudy Giuliani (which we
    have attached),2 purported “evidence” that has previously been put forward in support of false claims
    about Dominion was manufactured, misrepresented, and cherry picked by unreliable sources. These
    people lack any relevant expertise about voting machines and election security, and they are
    determined to promote a false preconceived narrative about the 2020 election. In light of this, you
    are well aware that there are countless people willing to put forward fake “evidence” of fraud in the
    2020 election and that any “evidence” must therefore be carefully scrutinized for reliability before
    you choose to broadcast it to a global internet audience.




    1
      “Dominion” refers to US Dominion Inc. and its subsidiaries, Dominion Voting Systems, Inc. and Dominion Voting
    Systems Corporation.
    2
      A copy of the Giuliani Complaint is available here: https://www.washingtonpost.com/context/dominion-voting-
    systems-defamation-lawsuit-against-lawyer-rudy-giuliani/91600fbd-9526-46ef-b951-b6f9b89950fc/.
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I.       Despite Knowing Your Claims About Dominion Are False, You Doubled Down on Your
         Smear Campaign and Promoted Fabricated Evidence to Support Your Accusations.

       Independent audits, hand recounts of paper ballots, bipartisan governmental officials,
Trump’s Department of Justice, local election officials, election security experts, and high-profile
Trump loyalists have repeatedly, forcefully, and publicly disproven and rebutted the false claim that
Dominion machines were hacked or that Dominion flipped, weighted, or otherwise manipulated
vote counts to steal the 2020 election.
        Purposefully disregarding the paper ballot recounts and knowledgeable sources, you have
continued to falsely accuse Dominion on the basis of facially unreliable sources and nonsense from
the dark corners of the internet. For instance, you tweeted disinformation from a blog known for
promoting conspiracy theories, writing: “Here are the pages of the machine voter fraud evidence
that came out last week and the media including Twitter has tried to bury it! This is an attack on
our country.”3 Your tweet included a document with the headline “EXCLUSIVE: Proof China,
Russia Hacked 2020 Election: IP Addresses in China, Russia, Hong Kong, Germany, Canada, Czech
Republic Hacked PA, NV, MI, GA Battleground States Raw Data Analytics Show.”4 This January
11 story from The American Report purports to list “[r]aw data analytics exclusively obtained by
The American Report show[ing] that during the 2020 presidential election” random IP addresses
across the globe hacked into IP addresses in four key battleground states.




3
  Mike Lindell (@MikeLindell), Twitter (Jan. 15, 2021), available at https://twitter.com/realMikeLindell/status/13502
97812668477441.
4
  Mary Fanning and Alan Jones, EXCLUSIVE: Proof China, Russia Hacked 2020 Election: IP Addresses in China, Russia,
Hong Kong, Germany, Canada, Czech Republic Hacked PA, NV, MI, GA Battleground States Raw Data Analytics Show, The
American Report (Jan. 11, 2021), available at, https://theamericanreport.org/2021/01/11/exclusive-proof-china-russia-
hacked-2020-election-ip-addresses-in-china-russia-hong-kong-germany-canada-czech-republic-hacked-pa-nv-mi-ga-battlegro
und-states-raw-data-analytics-show/.



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But the story you posted doesn’t contain any details about how the supposed hacking took place.
The story also does not say that votes were “flipped.” The story does mention Alibaba founder
Jack Ma before discussing the “Soviet military intelligence service,” and also naming “Amazon Data
Services” without explaining why. And while the story falsely states that “Dominion Voting Services
is based in Toronto,”—it is based in Denver, Colorado—it does not contain any reference to machine
voter fraud.
       Near the end of the story, the purported “raw data analytics” appear in a pixelated pdf of a
spreadsheet embedded to the page as a shareable Pinterest pin. The pdf contains fields purporting
to show IP addresses of election hackers and their targets, locations of allegedly compromised
machines, the time each hack allegedly took place, and the number of votes that were allegedly stolen
from Donald Trump.
        Notably, while the native spreadsheet itself would contain metadata revealing highly relevant
information about its creation (when the spreadsheet was created, etc.) the spreadsheet was converted
into a pdf, concealing data about its creation. Nor does the story itself reveal any information about
who created the spreadsheet—the implication is that it’s from an expert in voting machines or
election security, but it could have been created by a Trump supporter with no experience in voting
machines or election security, or a hostile foreign actor looking to undermine confidence in the
American election—or their expertise or motives for doing so. This alone is a giant red flag signaling
that the spreadsheet is not reliable and that its creator wanted to conceal its origins.
         Further adding to the implausibility of the story, The American Report’s theory appears to be
that votes were tampered with at transfer points of the state election computer system and external
third-party data election result vaults. But this theory is nonsensical. First, votes are first captured
at the local level, and then precincts report their votes to the state. If hacking had taken place at the
state level, it would have been detected because those numbers are verified by the local results and
documented on paper ballots. Second, every ballot tabulator is required by law to produce a paper
printout summarizing the vote totals for the ballots it counted. So if fraud had affected the reporting
process, it would have been detected by reviewing the paper printouts from the tabulators.
        Turning back to the “raw data analytics” you tweeted, even they do not support your claims.
The pdf identifies a total of 56,395 votes that were supposedly stolen from Donald Trump. Even if
the pdf were accurate—it isn’t—the number of votes at issue would not have changed the outcome of
the election. Other obvious problems in the pdf include:
        •   The “deleted votes” would not have changed the winner of the election. Even assuming
            the pdf were correct, the electoral votes in favor of Trump would total 248, which is 22
            votes short of the 270 required for victory.
        •   Of the 13 purported “hacks,” only one instance of supposed vote switching would have
            changed the candidate who received the most votes in any given county. That locality is
            Leelanau County, Michigan, where 8,795 votes were cast in favor of Biden, and 7,916
            were cast for Trump.
        •   Almost 20% of the counties listed in the pdf did not even use Dominion machines in
            the 2020 election.




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         •    It alleges that 1,108 votes were stolen from Trump in Luce County, Michigan, and
              switched to Biden. In reality, Trump received the majority of votes in this county, and
              Biden’s vote total was only 556 – approximately half the number of votes that were
              supposedly switched to him.
         •    Trump received the majority of votes in four of the counties where the pdf purports to
              show votes being stolen: Churchill County, Nevada; Douglas County, Nevada;
              Luce County, Michigan; and Coweta County, Georgia.
         •    One of the “targets” that supposedly owned the relevant machines was the “Secretary of
              state offices.” As a preliminary matter, voting machines are in local voting precincts and
              not the state official. Moreover, this target is the only one without an IP address listed –
              a series of asterisks is present in the IP address field.

II.      Proven Liars, Conspiracy Theorists, and Non-Experts Are Not Reliable Sources of
         Information.

        Despite constantly stating that you have “done [your] due diligence,” and “seen the evidence”
yourself, the only evidence you have ever delivered is the nonsensical and facially unreliable American
Report.5 Indeed, after an interview with NBC News, when asked if you could produce any evidence,
you replied: “All the evidence against Dominion is before the Supreme Court . . . Here is one page
of the proof.”6 NBC reported that “[t]he email did not include an attachment. When asked if the
omission was a mistake, you sent another email with an empty attachment and a third with
screenshots of illegible text.”7
       Later you said that you “helped to organize some of the leading experts” to include in your
“big documentary” about Dominion. Because there is no legitimate evidence, we understand that
you are planning to amplify perjurers, con artists, non-experts, and other facially unreliable sources
in support of your false and defamatory marketing campaign. And although you have not disclosed
which experts you plan to feature in your glorified MyPillow infomercial, facts readily available to
you demonstrate the obvious and facial unreliability of those who have propagated falsehoods about
Dominion:
          1. Russell Ramsland. Russell Ramsland is a “Deep State” conspiracy theorist in cahoots
             with Sidney Powell who was selected not because Ramsland has election security
             expertise, but because he was committed to promoting the false preconceived narrative
             that the election had been fixed. Ramsland has been peddling “rigged election”
             conspiracy theories for years. And he has publicly claimed, among other things, that

5
   See e.g., Newsmax, Mike Lindell to Newsmax TV: ‘President Trump will Prevail’ (Dec. 17, 2020), available
at, https://www.newsmax.com/newsmax-tv/mike-lindell-election-fraud-mypillow-ceo/2020/12/17/id/1002145/                      (“I
know what evidence is out there, plus I’ve done my own due diligence.”); The Victory Channel, FlashPoint: Stand Firm!
Mike      Lindell,    Hank      Kunneman     and      Mario      Murillo      (Dec.     23,      2020),        available    at,
https://www.youtube.com/watch?v=kPhpPLknmBw (“What I’ve seen and what I know … I declare this, just go get the
machines.”).
6
  Elisha Fieldstadt, My Pillow CEO Mike Lindell says products were dropped from major retailers after voter fraud claims, NBC
News (Jan. 19, 2021), available at, https://www.nbcnews.com/news/us-news/mypillow-ceo-mike-lindell-says-products-
were-dropped-major-retailers-n1254676
7
  Id.



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               George Soros helped form the “Deep State” in Nazi Germany in the 1930s—along with
               President George H.W. Bush’s father, the Muslim Brotherhood, and “leftists.” 8
               Mr. Soros was born in 1930.
               Before he released his nonsense “forensics report,” Ramsland had been publicly
               discredited for making false claims of overvoting in Michigan, which Ramsland based
               on vote counts from an entirely different state—Minnesota.9 Indeed, a Delaware judge
               determined that Ramsland provided “materially false information” in support of his
               claims of vote manipulation10 when he referenced and cited locations in Minnesota
               when alleging voter fraud in Michigan—something that is readily verifiable through a
               basic Google search.11
               Ramsland’s so-called “forensics report” of the Dominion machines in Antrim County,
               Michigan, contains a staggering number of inaccuracies; obvious misunderstandings of
               election procedures, hardware, and software; and other indicia of unreliability. Even
               though Ramsland cites to “experts” upon whom he purportedly relied in creating his
               report, he does not identify a single one. Nor does he identify any of their credentials
               or prior experience—other than the vaguest reference to a handful of government
               agencies—to justify their designation as “experts.”12 And Ramsland does not identify
               any experience that he, or any of his so-called “experts,” have in elections or election
               hardware or software. The rag-tag team of “experts” associated with Ramsland don’t
               have any relevant experience analyzing voting machines or vote tabulations. A
               Republican county clerk in Michigan complained about one of Ramsland’s team
               members—who runs a brewery outside of Austin after working as an account manager
               at a pharmaceutical company—for failing to “understand how election results are
               updated on county websites.”13
               Additionally, Ramsland references the “allowable election error rate established by the
               Federal Election Commission.” The Federal Election Commission does not regulate
               voting machines or software. It regulates campaign finance.14 Ramsland confused—or



8
  John Savage, Texas Tea Partiers Are Freaking Out Over ‘Deep State’ Conspiracy Theories, Vice (Sept. 20, 2018), available at,
https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-are-freaking-out-over-deep-state-conspiracy-theories .
9
  Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly inaccurate claims about vote,
PolitiFact (Dec. 4, 2020), available at, https://www.politifact.com/factchecks/2020/dec/04/russell-james-ramsland-
jr/affidavit-michigan-lawsuit-seeking-overturn-electi/; see also, Louis Jacobson & Noah Y. Kim, Giuliani cites affidavit with
crucial errors in press conference, PolitiFact (Nov. 20, 2020), available at, https://www.politifact.com/factchecks/2020/no
v/20/rudy-giuliani/giuliani-cites-affidavit-crucial-errors-press-conf/.
10
   Rule to Show Cause, Page v. Oath Inc., No. S20C-07-030 (Del. Super. Ct. Dec. 18, 2020).
11
   Hendrickson, n. 9.
12
    Pet. Notice of Suppl. Authority, King v. Whitmer, No. 20-815 (S. Ct. Dec. 13, 2020), available
at, https://www.supremecourt.gov/DocketPDF/20/20-815/163875/20201215164905775_Final%20Michigan%20N
otice%20of%20Supplemental%20Authority.pdf.
13
   Craig Mauger, Why 8 claims from Rudy Giuliani's Michigan witnesses don't add up, The Detroit News (Dec. 4, 2020),
available at https://www.detroitnews.com/story/news/politics/2020/12/04/why-8-claims-rudy-giulianis-michigan-
witnesses-dont-add-up/3824210001/.
14
   Mission and history, FEC, available at, https://www.fec.gov/about/mission-and-history/.



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               did not bother to research the differences between—the FEC and the EAC. 15
               Dominion’s election voting system suite is, of course, certified by the EAC.16
               Apart from these red flags indicating he is no expert at all, Ramsland also illustrates a
               gross misunderstanding of the machines and software in the details of his report. For
               example, he claims that his “forensics team” “perform[ed a] forensic duplication of the
               Antrim County Election Management Server running Dominion Democracy Suite
               5.5.3-002.” But there is no Democracy Suite 5.5.3-002. Instead, 5.5.3-002 is the version
               of the ImageCast Precinct tabulator (i.e., the actual scanner), not the election
               management server or software.17 This demonstrates that Ramsland is incapable of
               telling the difference between the relevant hardware, software, and servers involved—or
               that he simply did not take care to do so. Ramsland also fails to understand the
               difference between—or he intentionally distorted—adjudication software (which is an
               optional component of Dominion’s voting system suite) and the process of adjudicating
               a ballot. In fact, Antrim County only purchased (and therefore only used) certain
               components of Dominion’s voting system suite; critically, Antrim County neither
               purchased nor used—nor possessed the hardware required to use—the adjudication
               software.18 This did not prevent Ramsland from falsely claiming that “[b]allots sent to
               adjudication can be altered by administrators,” and that “all adjudication log entries for
               the 2020 election cycle are missing” and must have been “manually removed.”
               And Ramsland’s specific claim of a 68% “error rate” evidences a fundamental
               misunderstanding of election software. Ramsland claims to have used the tabulation
               logs as the source for his supposed “error rate.” But the tabulation logs do not reflect
               the machine’s tabulation of votes. They record activities logged by the machine during
               the tabulation process.19 So Ramsland’s claim that “these … tabulation totals were used
               as the official results” is false (because they are a recording of machine activity, not
               votes). Simply put, Ramsland does not understand what he is seeing.
               While Ramsland claims that a huge percentage of machine activity reflected in the
               tabulation logs were “errors” or “warnings,” he gives no explanation of how he
               identified or defined an “error” or “warning.” Ramsland references three settings—
               “reverse,” “divert,” and “override”—as examples of these so-called “critical errors” or
               “warnings.” But these are not “errors.” They are parameters used in the tabulator to
               handle ballots that—for example—include write-in candidates or ballots that contain
               votes for two candidates for the same office. Calling these “errors” is analogous to
               claiming that the low fuel indicator light turning on in a car is an “error”—it is of course

15
   How the U.S. Election Assistance Commission Facilitates Fair and Secure Elections, EAC, available at, https://www.eac.gov/
news/2020/12/03/how-us-election-assistance-commission-facilitates-fair-and-secure-elections/.
16
    Certificate of Conformance, EAC (Sept. 14, 2018), available at, https://www.eac.gov/sites/default/files/voting_syst
em/files/DSuite55_CertConf_Scope%28FINAL%29.pdf.
17
    Declaration of Ryan Macias, FactCheck.org, available at, https://cdn.factcheck.org/UploadedFiles/Rebuttal_ASOG
-Antrim_Report.pdf.
18
    Id.
19
   See Paul Egan & Clara Hendrickson, Trump tweet wrongly suggests there were defects with Michigan voting machines,
The Detroit Free Press (Dec. 15, 2020), available at, https://www.freep.com/story/news/politics/elections/2020/12/1
5/trump-fact-check-defect-voting-machines-michigan/3902951001/.



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               not an error; the car is operating precisely how it is supposed to. Similarly, just because
               the tabulator recorded, for example, “divert” does not mean that there was error with
               the ballot or the vote; precisely the opposite—it means that the machine operated
               properly in response to that ballot.20 This is even more evidence that Ramsland does
               not understand—or that he did not take care to distinguish—the difference between an
               actual error and proper functioning.
               Other people who are actually knowledgeable about election security and procedures in
               Antrim County promptly, publicly, and forcefully rebutted Ramsland’s report.
               Antrim County officials determined—and publicly announced—that Ramsland’s report
               was “riddled with false and unsupported claims, baseless attacks, and incorrect use of
               technical terms.”21 Similarly, the former acting director of the EAC’s Voting System
               Testing and Certification program said that Ramsland’s report showed a “grave
               misunderstanding” of Antrim County’s voting system and “a lack of knowledge of
               election technology and process.”22 Michigan’s Attorney General and Secretary of State
               issued a joint statement that Ramsland’s report was “critically flawed, filled with
               dramatic conclusions without any evidence to support them.”23 The Republican county
               clerk who made the mistake that resulted in the inaccurate unofficial results stated that
               Ramsland’s report contained “many misleading statements” and was “simply not
               accurate.”24
          2. Patrick Byrne. Byrne was previously the CEO of Overstock.com, but abruptly resigned
             his board seat and position as CEO after it was revealed that he had had a romantic
             affair with the now-notorious Russian agent, Maria Butina, who was sentenced to 18
             months in prison after being indicted by federal prosecutors for trying to infiltrate
             powerful political circles in the United States at the direction of the Russian
             government.25 In 2016, a judge issued a $1 million judgment against Byrne after he was
             sued for defamation.
          3. The affidavit—and repurposed affidavit—of Josh Merritt aka “Spyder.” Josh Merritt,
             a top-secret witness code-named “Spyder” by Sidney Powell, knowingly signed, under
             penalty of perjury, an admittedly “misleading” declaration (that he “was trying to


20
   Angelo Fichera, Audit in Michigan County Refutes Dominion Conspiracy Theory, FactCheck.org (Dec. 18, 2020), available
at, https://www.factcheck.org/2020/12/audit-in-michigan-county-refutes-dominion-conspiracy-theory/.
21
   See Ali Swenson, Report spreads debunked claims about Dominion machines in Michigan county, Associated Press (Dec. 15,
2020), available at, https://apnews.com/article/fact-checking-afs:Content:9847904839.
22
     See Todd Spangler, Former election security chief for Trump knocks down Antrim County
report, The Detroit Free Press (Dec. 16, 2020), available at, https://www.freep.com/story/news/politics/elections/202
0/12/16/antrim-county-report-debunked-by-former-trump-election-official/3923499001/.
23
   AG, SOS: Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates Lack of Credible Evidence in Widespread Fraud
or Wrongdoing, Michigan Dep’t of Attorney General (Dec. 14, 2020), available at, https://www.michigan.gov/ag/0,453
4,7-359-92297_47203-547422--,00.html.
24
     Craig Mauger, Michigan election officials slam report on votes in Antrim County, The Detroit
News (Dec. 14, 2020), available at, https://www.detroitnews.com/story/news/politics/2020/12/14/michigan-judge-
allows-release-report-antrim-county-voting/6537394002/.
25
   See Michael Corkery, Overstock C.E.O. Takes Aim at ‘Deep State’ After Romance With Russian Agent, N.Y. Times (Aug.
15, 2019), available at, https://www.nytimes.com/2019/08/15/business/overstock-paul-byrne-maria-butina-affair.html.



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                backtrack” on) claiming he was a “military intelligence expert” even though he has never
                worked in military intelligence.26
                But since Merritt had been discredited, Powell has put his declaration forward as though
                it were written by someone else. Indeed, the only difference between the “new”
                declaration and Merritt’s declaration is the information about the declarant’s
                background; the rest of the declaration is substantively identical to Merritt’s.27
           4. Terpsichore Maras-Lindemann. Powell submitted Maras-Lindeman’s affidavit in court
              filings as evidence without even bothering to speak to her, whether to assess her
              credibility or otherwise. 28      According to a publicly available court order,
              Terpsichore Maras-Lindeman is a serial liar and con artist.29 After serving in the Navy
              for less than a year, Maras-Lindeman created a profile on an online veterans community
              called “Together We Served,” and she falsely claimed to have had an extensive military
              career—including that she had reached the rank of lieutenant, served in the Office of
              Naval Intelligence and in combat zones in the Republic of Kosovo, Afghanistan, and
              Iraq, and was awarded multiple medals including a Purple Heart.30 In a recent fraud
              case, attorneys for the state of North Dakota said that Maras-Lindeman falsely claimed
              to be a doctor. They also said she used multiple aliases and social security numbers and
              created exaggerated online resumes as part of what they called “a persistent effort … to
              deceive others.”31 They alleged that Maras-Lindeman organized a charitable event to
              raise funds for homeless shelters, a Catholic school, and a monument, but then used
              money she collected on purchases for herself at Wal-Mart, McDonald’s, QVC, and
              elsewhere.32 A judge ordered Maras-Lindeman to pay more than $25,000 after finding


26
   Emma Brown, Aaron C. Davis & Alice Crites, Sidney Powell’s secret ‘military intelligence expert,’ key to fraud claims in
election lawsuits, never worked in military intelligence, Wash. Post (Dec. 11, 2020), available
at, https://www.washingtonpost.com/investigations/sidney-powell-spider-spyder-witness/2020/12/11/0cd567e6-3b2a-
11eb-98c4-25dc9f4987e8_story.html
27
   Compare Complaint at Ex. 7, Pearson v. Kemp, No. 12-cv-04809 (N.D. Ga. Nov. 25, 2020) [Dkt. 1-9], available at,
https://defendingtherepublic.org/?page_id=986 with Defending the Republic, Foreign Ties Affidavit, (Dec. 16, 2020), av
ailable at, https://defendingtherepublic.org/wp-content/uploads/2020/12/foreign_ties_affidavit.pdf.
28
   “Maras-Lindeman told The Post she had never spoken directly to Powell or anyone working on her legal team. She
said she distributed the affidavit widely to like-minded people and was unaware it had come to Powell’s attention until
it appeared as an exhibit in one of her cases.” Jon Swaine, Powell’s secret intelligence contractor witness is a pro-Trump podcaster,
Wash. Post (Dec. 24, 2020), available at, https://www.washingtonpost.com/investigations/sidney-powells-secret-
intelligence-contractor-witness-is-a-pro-trump-podcaster/2020/12/24/d5a1ab9e-4403-11eb-a277-
49a6d1f9dff1_story.html.
29
   Findings of Fact, Conclusions of Law, and Order for Judgment, State v. Maras, No. 51-2018-CV-01339 (Dist. Ct. N.
Central Jud. Dist., N.D. Sept. 11, 2020), available at, https://attorneygeneral.nd.gov/sites/ag/files/documents/Recent
Actions/2020-09-14-MagicCityChristmas-Judgment.pdf; see also Jon Swaine, Powell’s secret intelligence contractor witness is
a pro-Trump podcaster, Wash. Post (Dec. 24, 2020), available at, https://www.washingtonpost.com/investigations/sidney-
powells-secret-intelligence-contractor-witness-is-a-pro-trump-podcaster/2020/12/24/d5a1ab9e-4403-11eb-a277-49a6d1f
9dff1_story.html.
30
    LT Terpsichore Lindeman, Together We Served, (Mar. 5, 2020), available at https://web.archive.org/web/2020030
5152810/https%3A/navy.togetherweserved.com/usn/servlet/tws.webapp.WebApp?cmd=SBVTimeLine&type=Person
&ID=506419.
31
   State v. Maras, No. 51-2018-CV-01339 (Dist. Ct. N. Central Jud. Dist., N.D. Jul. 2, 2018).
32
   Id.



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              that she violated consumer protection laws by misspending money she raised and
              soliciting donations while misrepresenting her experience and education.33
          5. Edward Solomon. Edward Solomon paints himself as an expert “mathematician”
             whose statistical “analysis” determined that the results of the November 2020 election
             were “impossible,” and that therefore “computer software must have used an algorithm
             to change the votes.” He also concluded that the odds of the election results occurring
             naturally were “1 over 10 to an exponent so large there’s not enough stars in the
             universe, there aren’t enough atoms in the universe, to explain the number.” Here’s
             the problem: Solomon is not a “mathematician.” Solomon is currently employed as an
             “Installer” at a swing set construction company. And he recently served six months in
             jail for selling drugs.
          6. Jovan Pulitzer. Jovan Pulitzer is not the “QR code inventor” he purports to be, but a
             “failed treasure hunter” and “failed investor.” 34 QR code was invented by
             Masahiro Hara in 1994, when he was an employee of the automotive components firm
             Denso Wave.          As explained by Georgia’s Republican Secretary of State
             Brad Raffensperger: “the treasure hunter provided no evidence” to support his claims.
             And Poll Pad creator KnowInk issued the following response to Pulitzer’s tale about
             hacking their product: “The assertions made about unauthorized access to our systems
             are patently false. The man claiming that someone ‘got into’ our systems did not happen
             according to our forensic analysis. There was no ‘hack,’ there was no ‘back door’ entry,
             there was no ‘pump and dump,’ and there was no access through a ‘thermostat’ located
             hundreds of miles away in Savannah.”35
          7. Dennis Montgomery. Dennis Montgomery is a fraudster known for pulling off “one
             of the most elaborate and dangerous hoaxes in American history” after he tricked the
             federal government into paying millions of dollars for bogus terrorist-detection
             software.36 In 2009 he was charged with obtaining money under false pretenses and
             theft after failing to repay Caesars Palace for nine checks totaling $1 million.37 Setting
             that issue aside, Montgomery was “just another [] gambler in the casinos of Reno,” but
             that all changed when he falsely claimed to have developed software to “decode secret
             messages” embedded in Osama bin Laden tapes broadcast on Al Jazeera.38 Montgomery
             has been cited as the creator of the “powerful supercomputer system known as


33
   Id.
34
   Georgia Secretary of State, FACT CHECK: GEORGIA SENATE MASQUERADES FAILED TREASURE HUNTER AS
HACKER AND ELECTION SECURITY EXPERT, (Dec. 2020), available at, https://sos.ga.gov/index.php/elections/fa
ct_check_georgia_senate_masquerades_failed_treasure_hunter_as_hacker_and_election_security_expert.
35
   Knowing Admin, Georgia Runoff Election Update, (Dec. 31, 2020), available at, https://knowink.com/georgia-runoff-
election-update/.
36
    Travis Daub, How a Reno casino con man duped the CIA and pulled one of the ‘most dangerous hoaxes’ in
American history, PBS News (Oct. 14, 2014), available at https://www.pbs.org/newshour/nation/reno-casino-conman-
pulled-greatest-hoax-american-history.
37
    Tiffany Gibson, Court date set for man with $1 million gambling debt, Las Vegas Sun (Oct. 9, 2009),
available at, https://lasvegassun.com/news/2009/oct/09/man-who-prompted-gibbons-probe-appear-court-casino/.
38
    Thomas E. Ricks, Shameful Side of the War on Terror, New York Times (Oct. 12, 2014), available at,
https://www.nytimes.com/2014/10/13/arts/in-pay-any-price-james-risen-examines-the-war-on-terror.html.



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               THE HAMMER” and related software called “SCORECARD that is capable of hacking
               into elections and stealing the vote.” 39 When Montgomery was asked under oath
               whether his software was a “complete fraud,” he answered, “I’m going to assert my right
               under the Fifth Amendment.” 40 Authorities have described his “fantastic-sounding
               computer technology” as nothing more than a hoax after an intelligence commission
               concluded Montgomery’s “technology was a fabrication.” 41 Even Montgomery’s co-
               workers told the FBI that he “repeatedly doctored test results at presentations for
               government offiials,” and other co-workers “doubted Montgomery’s software existed.”42
               And witness interviews from U.S. Military investigations state “Montgomery’s
               programming skills were not what he alleged,” that “Montgomery was doing something
               other than what he was actually telling people he was doing,” and that “Montgomery
               had not written significant software.” Other witnesses said that “Montgomery was
               dishonest” and shared “suspicions that Montgomery was less technically competent
               than he led people to believe.” A few years ago, Montgomery sued a journalist for
               accusing him of being a con man and for exposing some of his scams. But the court
               threw out the suit because Montgomery failed to prove that his software even existed,
               much less worked. In its dismissal order, the court explained, “This lawsuit . . . has
               been defined by the software’s persistent absence.”43
          8. Sidney Powell & Lin Wood. The complaint we previously sent you explains in detail
             why Powell and Lin Wood are unreliable sources of information about Dominion.
             Without limitation, they misrepresented, manufactured, and cherry-picked evidence,
             and deliberately lied about having recordings and other proof that they never produced
             because it does not exist.
          9. Rudy Giuliani. The enclosed complaint explains in detail why Rudy Giuliani is not a
             reliable source. In addition, the New York State Bar Association has described his
             claims as “baseless,” and it admonished him for “commenc[ing] and prosecut[ing] []
             court actions in multiple states without any evidentiary basis whatsoever.”
        But you don’t have to take our word about the unreliable nature of these “experts.” The
United States District Court for the District of Arizona found this very same evidence impressive
only for its volume and described the same conclusions you are promoting as “largely based on
anonymous witnesses, hearsay, and irrelevant analysis of unrelated elections,” and include “expert
reports” that “reach implausible conclusions, often because they are derived from wholly unreliable

39
   Mary Fanning and Alan Jones, Biden Using SCORECARD and THE HAMMER to Steal Another U.S. Presidential Election—
Just Like Obama and Biden Did in 2012, The American Report (Oct. 31, 2020), available at
https://theamericanreport.org/2020/10/31/biden-using-scorecard-and-the-hammer-to-steal-another-u-s-presidential-
election-just-like-obama-and-biden-did-in-2012/?utm_source=ground.news&utm_medium=referral.
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    Eric Lichtblau & James Risen, Hiding Details of Dubious Deal, U.S. Invokes National Security, N.Y.
Times (Feb. 19, 2011), available at, https://www.nytimes.com/2011/02/20/us/politics/20data.html.
41
   Erich Lichtblau, US regretting dubious deal with computer programmer Is now suspected of selling phony antiterror software,
New York Times (Feb. 20, 2011), available at, http://archive.boston.com/news/nation/articles/2011/02/20/us_regre
tting_dubious_deal_with_computer_programmer/.
42
   Eric Lichtblau & James Risen, U.S. tech contractor seen as con man by some, Statesman (Feb. 20, 2011), available at,
https://www.statesman.com/article/20110220/NEWS/302209742.
43
   Op. at 2, Montgomery v. Risen, No. 16-7096 (D.C. Cir. 2017).



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sources.”44 The United States District Court for the Eastern District of Michigan reached the same
conclusion after it reviewed affidavits submitted by many of the characters listed above. That court
described the submissions as “nothing but speculation and conjecture that votes for President
Trump were destroyed, discarded or switched to votes for Vice President Biden.”45
                                                           ***
        Given the chorus of pretenders who have proven their willingness to manufacture fake
evidence and to lie about Dominion, you are well aware that there is serious reason to doubt the
credibility of the “evidence” you are planning to broadcast in your “documentary.” If you were
actually interested in the truth, you would tell us who you will be featuring in your “documentary”
and give us a reasonable opportunity to review their purported “evidence” before you publish, so
that we can point out the red flags and other obvious errors that have plagued all of the other
purported “evidence” that has been put forward against Dominion.
         We have no doubt that you will purposefully avoid this opportunity because you are not
actually interested in the truth and—as you told CBS News—you want Dominion to sue you.46 After
all, positioning yourself as Dominion’s enemy and a victim of “cancel culture” has been very good
for My Pillow, Inc.’s bottom line.

                                                                  Regards,



                                                                  Thomas. A. Clare, P.C.



                                                                  Megan L. Meier




44
   Order at 24-25, Bowyer v. Ducey, No. 2-20-cv-02321 (D. Ariz. Dec. 9, 2020) [Dkt. 84].
45
   Op. & Order Den. Pl.’s Emer. Motion. for Decl., Emer., and Inj. Relief at 34, King v. Whitmer, No. 20-cv-12134 (E.D.
Mich. Dec. 7, 2020) [Dkt. 62].
46
   Brian Dakss, “My Pillow guy” Mike Lindell says he’d welcome suit from voting machines maker Dominion, CBS News (Jan. 19,
2021), available at, https://www.cbsnews.com/news/mike-lindell-dominion-lawsuit-mypillow-ceo/.



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